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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

VALUE DRUG COMPANY                               CIVIL ACTION

                     v.                          NO. 21-3500

TAKEDA PHARMACEUTICALS,
U.S.A., INC., PAR
PHARMACEUTICAL, INC., WATSON
LABO RA TORIES, INC., TEVA
PHARMACEUTICAL INDUSTRIES,
LTD., TEVA PHARMACEUTICALS
USA, INC., AMNEAL
PHARMACEUTICALS, LLC


                                           ORDER
       AND NOW, this 3151 day of August 2022, consistent with our March 15, 2022 Order

(ECF Doc. No. 198) setting procedures for review of the appointed Special Master Judge

Vanaskie's Report and Recommendations, and having reviewed Judge Vanaskie's August 29,

2022 Special Master Recommended Order No. 22 (ECF Doc. No. 472), citing no objections, and

independently finding a substantial basis to adopt and approve Judge Vanaskie ' s analysis, it is

ORDERED:

       1.     We ADOPT and APPROVE Special Master Judge Vanaskie's August 29, 2022

Recommended Order No. 22 (ECF Doc. No. 472);

       2.     Plaintiffs Motion to compel Takeda Pharmaceuticals U.S.A., Inc., to conduct a

reasonable search for missing documents or to produce a witness to testify about document

collection and retention policies (ECF Document No. 465) is DENIED without prejudice as

moot; and,
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       3.     Takeda shall file with the Court a status report and proposed plan of action no

later than August 31, 2022.




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